 

Case 3:11-cv- 00130; B Document 8 Filed 02/22/11 Frage 1of1i PagelD 50
IN THE UNITED STATES DISTRICT COUR

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
ARTHUR CARSON §
Plaintiff,
VS. NO. 3-11-CV-0139-B
DANA ARNETTE, ET AL.
Defendants.

ORDER SPECIFYING FURTHER ACTION TO BE TAKEN BY THE CLERK

Pursuant to the provisions of 28 U.S.C. § 1915, permission was previously granted for the above named
plaintiff(s) to proceed in forma pauperis in this Court until judgment is entered herein.

The Clerk of the Court shall take the following indicated action:

( )  Atrue copy of this order shall be mailed to each plaintiff or plaintiff's attorney of record. No further process
shall issue except upon further order of the Court.

(X)_ A true copy of this order shall be mailed to each plaintiff or plaintiff's attorney of record, the Clerk of the
Court shall issue summons and the United States Marshal’s Service shall serve process on the following

defendant(s):
Dana Arnette Carolyn Stovall
Dallas Housing Authority Dallas Housing Authority
3939 N. Hampton Road 3939 N. Hampton Road
Dallas, Texas 75212 Dallas, Texas 75212

It is further ORDERED that, at all times during the pendency of this action, plaintiff(s) shall immediately
notify the Court of any change of address and its effective date. Such notice shall be captioned "NOTICE TO THE
COURT OF CHANGE OF ADDRESS." The notice shall contain only information pertaining to the change of
address and its effective date. Failure to filea NOTICE TO THE COURT OF CHANGE OF ADDRESS may result
in the dismissal of the complaint for failure to prosecute pursuant to Federal Rule of Civil Procedure 41(b).

After docketing, this action shall be:

( ) Referred to Magistrate Judge Kaplan for further proceedings and/or findings and recommendation.

(X) Referred to a Judge of the District Court for further action as may be appropriate.

SIGNED this re = of February, 2011.

   

r ED STATES MAGISTRATE JUDGE

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